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                                   8                                 UNITED STATES DISTRICT COURT

                                   9                                NORTHERN DISTRICT OF CALIFORNIA

                                  10                                        San Francisco Division

                                  11     RENEE MARIE LEPAGE,                              Case No. 17-cv-00600-LB
                                  12                   Plaintiff,
Northern District of California
 United States District Court




                                                                                          VERDICT FORM
                                  13            v.

                                  14     COUNTY OF NAPA, et al.,
                                  15                   Defendants.

                                  16

                                  17   Claim of Excessive Force (42 U.S.C. § 1983 and Fourth Amendment; California Battery)

                                  18      1. Did defendant Timothy Reid use excessive force against plaintiff Renee LePage in
                                  19         violation of the Fourth Amendment to the U.S. Constitution and California law (battery)?

                                  20                 Yes: _______________          No: _______________

                                  21          Proceed to question 2.
                                  22
                                       Claim of Violation of Civil Rights (Cal. Civ. Code § 52.1, known as the Bane Act)
                                  23

                                  24      2. Did defendant Reid interfere with or attempt to interfere with the plaintiff’s enjoyment of
                                             her right to be free from unreasonable seizure in violation of the Bane Act?
                                  25
                                                     Yes: _______________          No: _______________
                                  26
                                              Proceed to question 3.
                                  27

                                  28

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                                   1   Claim of Negligence

                                   2      3. Was defendant Reid negligent?
                                   3
                                                     Yes: _______________           No: _______________
                                   4
                                              Proceed to question 4.
                                   5

                                   6   Damages
                                   7
                                          4. Did you answer yes to at least one of the following questions: 1, 2, or 3?
                                   8
                                                     Yes: _______________           No: _______________
                                   9
                                              If your answer is no, you have reached a verdict, and you must stop here, and have the
                                  10          presiding juror sign and date this form. If your answer is yes, then proceed to Question 5.
                                  11
                                          5. If you answered yes to question 1, 2, or 3, what amount of damages do you award to the
                                  12         plaintiff?
Northern District of California
 United States District Court




                                  13                 $ _______________
                                  14          Proceed to question 6.
                                  15
                                          6. What amount of the damages in question 5, if any, is attributable to the amount billed for
                                  16         or accepted for payment of medical services?

                                  17                 $ _______________
                                  18          Proceed to question 7.
                                  19
                                          7. If you answered yes to question 1, was defendant Reid’s conduct malicious, oppressive, or
                                  20         committed in reckless disregard of the plaintiff’s rights?

                                  21                 Yes: _______________           No: _______________
                                  22          If your answer is no, you have reached a verdict, and you must stop here, and have the
                                  23          presiding juror sign and date this form. If your answer is yes, then proceed to Question 8.

                                  24      8. If you answered yes to question 7, what amount of punitive damages do you award to the
                                             plaintiff?
                                  25
                                                     $ _______________
                                  26

                                  27   Signed:___________________________________ (Presiding Juror)

                                  28   Dated:____________________________________

                                       VERDICT FORM – No. 17-cv-00600-LB                2
